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The following constitutes the ruling of the court and has the force and effect therein described.




Signed September 17, 2020
______________________________________________________________________



                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION



     IN RE:                                           §
                                                      §
     Examination Management Services, Inc             §           CASE NO. 20-32367-SGJ-7
                                                      §
            Debtor.                                   §


        ORDER TO SHOW CAUSE WHETHER CASE SHOULD BE DISMISSED FOR
       FAILURE OF CORPORATE PETITONING CREDITORS TO APPEAR IN CASE
                            THROUGH COUNSEL

            The above-referenced involuntary case was filed against the above-referenced

     corporation on September 14, 2020. The Petitioning Creditors are all corporations or other forms

     of business entities and no licensed attorney has appeared for them. It is well established that a

     corporate entity may not appear in federal court actions (including bankruptcy cases) pro se

     under 28 U.S.C. §1654, Rowland v. California Men's Colony, 506 U.S. 194, 201-03 (1993)

     (citing cases dating from 1824 forward holding that a corporation may only be represented by

     licensed counsel), and Local Bankruptcy Rule 1002-2(a). Therefore, it is

                                                          1
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        ORDERED that the Petitioning Creditors, JTD Services Inc, Lynn Blank Exam Services,

 Bistate Professional Services Inc, and Five Eight Eight Two, Inc, shall retain counsel and such

 counsel must file a Notice of Appearance in this case on or before September 28, 2020, at 2:30

 p.m., or this involuntary case will be dismissed for their failure to appear and prosecute this case

 through counsel.

                                     ### END OF ORDER ###




                                                      2
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                                               United States Bankruptcy Court
                                                Northern District of Texas
In re:                                                                                                     Case No. 20-32367-sgj
Examination Management Services, Inc                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0539-3                  User: cecker                       Page 1 of 1                          Date Rcvd: Sep 18, 2020
                                      Form ID: pdf012                    Total Noticed: 4


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 20, 2020.
ptcrd          +Bistate Professional Services Inc,    Iris L. Hardy,    17838 Chesterfield Airport Road,
                 Chesterfield, MO 63005-1216
ptcrd          +Five Eight Eight Two, Inc,    8825 Perimeter Park Blvd #402,    Jacksonville, FL 32216-1124
ptcrd          +JTD Services Inc,   8713 Airport Freeway #318,    Fort Worth, TX 76180-7611
ptcrd          +Lynn Blank Exam Services,    8865 Commodity Cr #13-216,    Orlando, FL 32819-9045

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 20, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 18, 2020 at the address(es) listed below:
              United States Trustee   ustpregion06.da.ecf@usdoj.gov
                                                                                            TOTAL: 1
